” Case 04-03774 Doc105-2 Filed 12/11/06 Entered 12/11/06 07:23:42 Desc Exhibit
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STATE OF ILLINOIS )
) SS:
COUNTYOFLAKE )

IN THE CIRCUIT COURT OF THE NINETEENTH
JUDICIAL CIRCUIT, LAKE COUNTY, ILLINOIS

EUGENE TERRY, NICOLE TERRY,
And TERRY’S COMPANY, INC.

Plaintiffs.

¥5. No.:

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)
)
}
}
) . NV
(6 Y
KIDS COUNT ENTERTAINMENT, INC. } %. oe
An Lliinois corporation, KIDS COUNT J : ‘
ENTERTAINMENT, LLC, an Illinois )
Limited Liability Company, VICKI )
ESRALEW, and ROBERT AREN, )
)
)

Defendants.

COMPLAINT AT LAW

Now comes the Plaintiffs, EUGENE TERRY, NICOLE TERRY, and TERRY’S
COMPANY, INC. by and through their attorneys, TROBE, BABOWICE & ASSOCIATES
LLC, aud complaining of Defendants, KIDS COUNT ENTERTAINMENT, INC., an Ilinais
corporation, KIDS COUNT ENTERTAINMENT LLC., an Ilhnots Limited Liability Company,
YVICKI ESRALEW, and ROBERT AREN, as follows:

FACTS COMMON TO ALL COUNTS

lL. Piaintiffs, Eugene and Nicole Terry are husband and wife and reside in Highland
Park, Lake County, Illinois.

2. Plaintiff, Terry’s Company, Inc., is an Illinois corporation, licensed to do business

im the State of Mlinois.

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3, Defendant, Kids Count Entertainment, Inc., is an [hinois corporation, licensed to
do business in the State of Illinois whose president is Vicki Esralew,

4, Defendants, Kids Count Entertainment, LLC, is an Illinois Limited Liability

_ Company, managed by Defendant, Vicki Esralew.

4, . Defendant, Robert Aren, is the husband of Defendant, Vicki Hsralew,

&. Qn ot about November 22, 1998, Plaintiffs and Defendanis entered into a
Memorandum of Agreement which was dated November 22, 1998. (Exhibit “4” —
Memorandum of Agreement).

7. Paragraph 1 of the Memorandum of Agreement recites that Plaintiffs will invest
between $260,000 te $250,000 in Defendant companies. The investment would be treated as a
loan to Kids Count at the rate of 10% interest per annum. ( Memorandum of Agreement, Par. 1)

8. Paragraph 2 of the Memorandum of Agreement provides for an additional
investment by Plaintiffs in the amount of $27,000 to Kids Count. (Memorandum of Agreement,
par. 2},

2, Pursuant to the Memorandum of Agreement, plaintiffs advanced certain sums of
money to Defendants.

10. Pursuant to Paragraph 12 of the Memorandum of Agreement, the parities to the
Aprecement were te meet not less often than every 14 days to revicw various financial data,

ll. Since May 1999, Defendants have refused to communicate dircetly with the
Plaintiffs or provide any information conceming ihe activities of the Company. On September
17, 2003, Plaintiffs made demand on Defendants for immediate repayment of all loans due under
the Memorandum of Agreement. At the time of the demand, the amount owing was

$258,656.87. (Exhibit “B” — Demand Letter, September 17, 2003}.

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12 Plaintiffs have not received a response to the demand.
COUNT I
(Breach of Contract)
-*..., b-12, Plaintiffs reallege and restate Paragraphs 1 through 12 ag and for Paragraphs 1
through 12 of this Count I as though faily set forth herein.

13. The Memorandum of Agreement is a yalid and enforceable contract between
Plaintiffs and Defendants.

14. Defendants have breached the contract in that:

(a} _—s they have failed to meet every 14 days to review sales, inventory levels, cash
dispositions, and other data relevant to Kids Count as required by the agreement;

(b} they failed to provide financial information to Plaintiffs:

(c} they failed to pay monies due under the contract.

WHEREFORE, Plaintiffs, EUGENE TERRY, NICOLE TERRY and TERRY'S
COMPANY, INC., requests that this Court enter judgment in favor of Plaintiffs and against
Defendants in the amount of Two Hundred Fifly Eight Thousand Six Hundred Ei ghty Six and
§7/100 ($258,686.87) and for such other retief as the Court deems appropriate,

COUNT II
(Accounting)

I-14. Plaintiffs reallege and restate Paragraphs | through 14 of Count J as and for
Paragraphs 1 through 14 of this Count II as though fully set forth herein.

15. Paragraph 6 of the Memorandum of Agreement states in part:

“- 6. As part of the consideration for Terry’s loan, Terry shail
have a five (5) year option to purchase ten (10%) percent

of Kids Count Entertainment, LLC for a price of $250,000.
The sum may be paid by cash and/or cancellation of the
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Terxy’s loans to the company. For this purpose, the unpaid
portion of Terry's investment in the inventory may be treated
as part of Terry’s loan upon transfer of any unpurchased
inventory to Kids Count... {Bxhibit “A” — Par. 6)
. 16. This provision gives Plaintiffs the right te convert all of their loan into an equity
. percentage in Kids Count Entertainment LLC, —

17, This option to conyert part or all of Plaintiffs’ loan into an equity percentage will
expire November 22, 2003,

18. In order to analyze whether or not to exercise this option, Plaintiffs require certain
financial information about the company,

19. On September 17, 2003, Plaintiffs sent a letter to Defendants requesting financial
information in order to make their analysis, (Exhibit “C” — Letter requesting financial
information}. Plaintiffs have not received a response to their request.

20, Plaintiffs’ status as a creditor with an option to purchase an equity position in
Defendants’ company gives them standing to request an accounting from the Defendants.

WHEREFORE, Plaintifis, EUGENE TERRY, NICOLE TERRY and TERRY’S
COMPANY, INC., respectfully requests that this Court enter judgment against Defendants,
KIDS COUNT ENTERTAINMENT, INC., an Illinois corporation, KIDS COUNT
ENTERTAINMENT LLC., an Mlimois Limited Liability Company, VICKI ESRALEW, and
ROBERT AREN, dirccting Defendants to provide Plaintiffs an accounting from November 22,

_ 1998 to the present.
COUNT Il
(injunctive Relicf)
1-20, Plaintiffs reatlege and restate Paragraphs 1 — 20 of Count I as and for Paragraphs

1 through 20 of Count I as though fuily set forth herein.
+

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21, Plaintiffs’ option to convert in part or all of their loans to Defendants to an equity

position in Defendant, Kids Count Entertainment LLC, will expire on November 22, 2003.

22. In order to have sufficient information upon which to base a decision concerning a ~

. the exercise of this option, Plaintiffs need financial data from Defendants.

23. Plaintiffs have requested this financial data but it has not been received.

24, Plaintiffs do an adequate remedy at law. The equity position in Defendants’
company is unique, and. Plaintiffs cannot be compensated by a monetary judgment.

25. Plaintiffs will be irreparably harmed if the option expires without Plaintiffs being
able to adequately evaluate the value of the option.

WHEREFORE, Plaintiffs, EUGENE TERRY, NICOLE TERRY and TERRY’S
COMPANY, INC., respectfully request that this Court enter an injunction in favor of Plaintiffs
and against Defendants, requiring the Defendants to extend the date upon which Plaintiffs can
exercise their option.

Respectfully submitted,

EUGENE TERRY, NICOLE TERRY and
TERRY'S COMPANY, INC., Plaintiffs,

SP SaLe

Peter M. Trobe 9

Peter M. Trobe #02857863

Trobe, Babowice & Associates LLC
32 N. West Street, Suite 102
Waukegan, 0. 60085

(847) 625-8700
-jeferred to as "Kids Count”) have agreed as follows:

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MEMORANDUM OF AGREEMENT

Vicki Esralew, Robert Aren (hereinafter collectively referred to as-"Esralew), .
Etigene Terry, Nicole Terry and Terry's Company, Inc. (hereinafter collectively referred

40 a$""Tery’), Rollin J. Soskin (hereinafter réferred to as "Soskin"), and Kids Count

Entertainment, Inc. and Kids Count Entertainment, (.L.C. (hereinafter collectively

4. Terry will invest $200,000 te'$250,000 as December, 1998 through .
February, 1999 cash flow shall require. Terry's Company, Inc. may purchase the new
inventory and self it to Kids Count as ordered, at a price that provides a 10% per
annum return on the funds invested in inventory. The balance of the investment by

Terry will be a loan te Kids Count at the rate of 10% interest. A financing statement will

be filed with the Secretary of State in order to provide. protection under the Uniform
Commercial Cade with respect to Terry's investment, secured by the assets of Kids
Count. The primary purpase of Terry's investment is ta fund creation of commercials,
purchase of air time and manufacture of required inventary. .

3° In addition te the investment described in paragraph 1, Terry will deposit
the sum of $27,C00 into a bank account in the name of Kids Count. This portion of -
Terry's investment (the "receivable loan") is in the form of a purchase from Kids Count
of certain receivables due fram Discovery Toys - $12,855 schedulad to be received in
December, and $14,145 of the $18,000 scheduled to be received in February.
immediately upan receipt, ihe instruments of payment of such amounts, ar any portion
thereof, shall be tamediately tose ver to Terry without depasit by Kids Caunt, The
original invoices for the aforementioned Discovery Toy invoices shall be marked
“ASSIGNED TO EUGENE TERRY” and delivered to Soskin ta held.

3. A new bank account at LaSalle Bank shall be created in the name of Kids
Count Entertainment, L.L.C. into which Terry shail deposit the receivable loan and that
portion of his investment which will be treated as a joan ta the Kids Count.
Disbursements in excess of $2,000 from such account shall be made only upon two
signatures as failows: one signature to be either Eugene Terry, Nicole Terry, or Rollin .
J. Soskin: and one signature to be either Vicki Esralew or Robert Aren. All receipts af
Kids Count, regardless of source, shail be deposited into such bank account.

4. it is anticipated that the receivable loan fram Terry and collections from
December sales will be sufficient to cover overhead. From such amounts, Esraiew .
shail be entitled to withdraw from Kids Count 4 sum not to exceed $12,000 per monin,
which may be taken, in Esralew's sole discration, as salary or repayment of the loans to
Kids Count previously mada by Esralew or Aren, or in any combination thereof, -
provided that the total of grass compensation and foan repayment shail not exceed

$42 006 per month. .
eyeit Pp
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MEMORANDUM OF AGREEMENT - page 2

.. & From the receivable loan and subsequent sales, Kids Count shall pay to .
.Soskin a sum not to exceed $4,000 per month which Soskin may have paid as salary ‘or
as legal fees to his law firm, in his sole discretion. To the extent not taken in a
Particular month, the sums payable to Esralew and Soskin shall a accrue and be payable,
"if and when cash flow allows.

. 6. As part of the cansideration for Terry’ § loan, Terry shall have a five (5)
year option to purchase ten (10%) percent of Kids Count Entertainment, LLC. for a
price of $250,000. This sum may be paid by cash and/or cancellation of the Terry's
‘loans to the company. For this purpose, the unpaid portion of Terry's investment in
inventory may be treated as part of Terry's loan upon transfer of any unpurchased
inventory to the Kids Caunt. in the evert of 4 refinancing in excess of two million
dollars or recapitalization of Kids Count with new value in excess of two million dollars
Kids Count may demand that Terry exercise or waive his option within ninety (90) days
of notice.

7. - As part of the consideration to Terry and to Soskin, Soskin shali
immediately receive a one (1%) percent interest in Kids Count Entertainment, L.L.C.
and shal! have 4 five (5) year option to purchase. eight (8%) percent of Kids Count
Entertainment, L.L.C. far the sum of $200,000. In the event of a refinancing in excess
of two milion dollars or recapitalization of Kids Count with mew value in excess of two
million dollars Kids Count may demand that Soskin exercise or waive his option within
ninety (80) days of natice.

a. In additien to the interest and the option granted to Saskin above, Soskin
shall immediately receive a ane (1%} percent interest as incentive and in lieu of fees for
services ta Kids Count whethes ‘as attorney, employee, or otherwise, in excess of the
agreed upon $4,000 per month set forth in paragraph 5 above, for the period from
December 1, 1998 through such time as the salaries and compensation of Esralew and
Soskin are reviewed, based upon company performance, but in no event shall such
périad of "free excess" services by Soskin extend beyond May 31,1999. Itis
understeed and agreed that Soskin will not work axctusively for Kids Count and has
ather business interests, including a law practice. Saskin shall not be required to
spend in excess of sixty (60) hours per month during such period witheut additional

compensation.

9. His agreed that any of ihe following actions shall require the unanimeus
consent of Esralew, Terry and Soskin:

. {a} incurring of any new debt beyand normal trade payables;
(b} = issuance of any new stock or security ar other interest convertible
in to an cwnership interest in Kids Count;
MEMORANDUM OF AGREEMENT - page 3

(c) _ sale or transfer of any interest in Kids Count owned by Esralew or
~~ Aren to anyone other than Esralew, Aren, Soskin orTery orto’: >
Kids Count, without first offering such interest to Teryand Soskin ”

a. upon the same terms and conditions as are offerred by any Se
proposed transferee. . ~ .

a
+ a

40, Inthe event of any sale or transfer by Kids Count or Esralew of any
shares in Kids Count Entertainment, inc. or Kids Count Entertainment, L.L.C., which

_ results in Esralew owning less than 51% of Kids Count, Terry and Soskin shall have-the
right to “tag along" on @ pro-rata basis at a price aqual to the price at which Esralew's —
shares or interest are sold, and Esralew shall have the right to “bring-along” Terry and
Soskin on a pro+ata basis at a price equal ta the price at which Esratew's shares or.

interest are sold.

41, Each party hereto has made such investigation of the facts and.
circumstances and the condition of Kids Count and of the other parties, and has .
engaged such atiameys. accountants, or other professionals as they have determined
in their own discretion to be necessary OF pructent in the circumstances. Esralew,
Terry, and Kids Couni all hereby waive any actual or apparent conflict of interest
resulting from the participation of Soskin in bringing Esralew, Aren and Kids Count
together with the Terrys, or from the services of Soskin to, by or In regard to Kids
Count, Terry and Esralew, or any of them, and from the representations made by any of
the partiews hereto to the others in order to induce them to enter into this agreement,
and after due corisideration, the parties agree te hold Saskin harmless and idemnified
against any and all loss, cost and damages, including reasonable attorney's fees,
resulting fram any claims that Soskin represented one party or the other or was subject
io a conflict of interesi as between any of the parties to this agreement, or that any
party made any material misrepresentation with respect to the transactions herein
contemplated.

42, The pariies agree to mest not less offen than every fourteen (14) days to
review sales, inventory feyels, cash position and other data relevant to Kids Count.

13. The parties agree that because time is shart and the investment of TerTy -
is essential to Kids Court's chances of success, in large part as a result of the desire to
have cernmercials onthe air in time to take advantage of the Christmas gift season, this
transaction is being dacumented by this simple memorandum rather than by all of the
legal documents which this agreement contemplates. The parties agree to enter Into

-shareholder's agreements, option agreemenis, and ather contracts and legal
documents as may be necessagy or customary, containing the provisions which are sei
forth herein fin addition to any other items as to which the parties may agree). The
parties agree to attempt to complete al} such documentation by February 28, 1999.
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MEMORANDUM OF AGREEMENT - page'4

14, The parties agree ‘that the operating agreement of the limited liability

- company shail also be amended to reflect the provisions hereof, and it is agreed that
_Soskin, Esralew, Aren, and either of the Terrys shall be directors of Kids Count. In the
" event that Robert Leeper should be made a director, both of the Terys shail be
directors. ie

15, Esralew and Kids Count represent that the ownership of Kids Count
Entertainment, L.L.C. is as follows: Robert Leeper - five (5%) percent; Harris
Associates -.one (1%) percent, Kids Count Entertainment, Inc. - ninety-four (94%) (Kids
Count Entertainment, nc. is owned 100% by Esralew and/or trusts for their children).
Esralew and Kids Count represent that after this Memorandum of Agreement is signed,
the ownership of Kids Count Eniertainment, L.L.C. will be as follows: Harris Associates _
- one (1%) percent Robert Leeper - five (5%) percent; Roilin J. Saskin - twa (2%)
percent, and Kids Count Entertainment, Inc. - ninety-fwo (92%), subject to the rights of -
Terry and Saskin to acquire the additional percentages sat forth herein from Kids Count
' Entertainment, inc., from Esralew, or from Kids Count Entertainment, Li.C.

16. Esralew and Kids Count represent that the total debi (principat} of Kids

Count Entertainment consists af the following: Jim Terra - $75,000; Harris Bank -
$150,000; First National Bank - $73,933.34; Hudsucker Partners Urving Harris} -
$325,000: Vicki Esralew - $196.445: Feels Good Pariners - $50,000; Steve Santawski -
$75,000; Foley & Lardner - $18,000; Citibank Visa - $9,600 {credit card used
exclusively for Kids Count expenses; Miscellaneous trade payables - $33,000 (includes
$15,000 to Aulischuler, Maivoin & Glasser).

17. Esralew and Kids Count represent and warrant that the financial
statemenis prepared as of October 20, 1998 are substantially true and correct except
as ta the status of Santowski as a sharenoider.

18. Absent subsequent agreement to the contrary, Vicki Esralew agrees that
all of her personal services, appearances, creative efforts, activities and products shail .
be perfarmed ander created for the exclusive benefit of Kids Count

19. [tis understood and agreed that neither Soskin nor Terry shail be
personally liable for any debts of Kids Count or any personal debis of Esralew.
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, ANDUM OF AGREEMENT - page 5

sralew, Aren-and Kids
t of funds andior the re
of all of the foregoing terms.

5 this LL day-of November,

MEMO
° "49. Acceptance by E

Soskir deposi
"of Saskin and/or of the
"” ““ghail constitute ther acceptance

RE. the parties have set their hand

wnt vices
Count of the benefit of the s&
caipt of other benefits from Terry

WHEREFO

1998.

‘Kids Count Ent rtainment, L.L.C.

Entertainment, ine,

Kids Coun

TT Rtn J, Soskin
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Eugene Texry
. 1891 Olid Briar
Highland Park, Illinois 60035
(847) 831.3490 TK

tte Via Certified Majf - Ratorn Receipt Requested

September 17, 2003

Vicki Esralew, Manager

Kids Count Entertainment, L.L.C.
3800 N. Wilke Road

Suite 300

Arlington Heights, illinois 60004

Re: Outstanding loans
Dear Vicki:

Demand ts hereby made for the immediate repayment of all loans due to the
undersigned and to Terry's Company, Inc. for all sums loaned to Kids Count
Entertainment, LLC. The outstanding principal amount is $173,651.56. With interest at
10% over the last five years as per the written Memorandum of Agreement covering
such loans, the amount due as of this date is $ 28t. @77 Tj addition, the loan continues to
accrue interest at the rate of $47.58 per day and such interest will continue to accrue

unlii the actual date of payment.

ft do not receive full payment within fourteen (14) days, | will have no alternative °
' but to file suit in order to collect the sums due, and, if necessary, to levy upan the
assets of the campany to secure the said loans. Mapefully this will not be necessary.

Very truly yours,

i Eugune Terry, individually and as
President of Terry's Campany, Inc.

ET/siw

* ge: Rollin J. Seskin

it wh
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Eugene Terry
1891 Old Briar -
Highland Park, Illinois 60035
| (84%) 831.3498 tr.

oe Via Certified Mail - Return Receipt Raguested
September 17, 2003

Vicki Esralew, Manager

Kids Count Entertainment, L.L.C.
3600 N, Wilke Road

' Suite 300 Lo:
Arlington Heights, IWincis 60004

Re: exercise of option
Dear Vici:

Pursuant to the Memorandum of Agreement dated Novernber 22, 1998, | have
an option te acquire up to 10% of Kids Caunt Entertainment, L.L.C. ata price of
$250,000.00, | further have the right to offset the amounts due me against such
exercise price. The outstanding principal amount is now $173,651.56. With interest at
10% over the fast five years as per the written Memorandum of Agreement, the amount
is now well in excess of $250,000.60,

in order to properly analyze whether or not to exercise ivy option, it will be
necessary ior me to examine the financial records of the company, including the results
of all operations, current assets and liabilities, and ail information pertaining to the
current prospects for the company.

Itis hereby demanded that you provide me with sufficient information with which
6 make an informed decision as to my aption. | suggest that we meet within the next
five days to discuss what records may be available.

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Esralew

September 17

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*_ If do not receive the requested information ina timely manner, | will have no
preserve and enforce my rights under the

alternative but to file suit in order to

Memorandum of Agreement.
oo | Very truly yours,
— @

ET/slw

cc:

Rollin J.

Eugune Terry, individually and as
President of Terry’s Company, Inc.

Soskin
